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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

    THE STATE OF LOUISIANA,
    By and through its Attorney General, JEFF
    LANDRY; ET AL,

                                         PLAINTIFFS,

    v.                                                    CIVIL ACTION NO. 3:21-CV-04370-TAD-
                                                          KDM
    XAVIER BECERRA, in his official capacity as
    Secretary of Health and Human Services; et al.,

                                      DEFENDANTS.


                   PLAINTIFF STATES’ CROSS-MOTION FOR SUMMARY JUDGMENT

          Plaintiff States hereby move for summary judgment on all counts. For the reasons set forth in

   their memorandum, Plaintiff States’ motion should be granted and summary judgment should be

   entered for Plaintiff States. As explained in the attached Memorandum supporting this motion,

   Defendants have acted without statutory authority and contrary to law, violated the Administrative

   Procedure Act, violated the Congressional Review Act, violated the Treasury and General

   Government Appropriations Act of 1999, and violated the Constitution by promulgating and

   implementing Vaccine and Mask Requirements to Mitigate the Spread of COVID–19 in Head Start Programs,

   86 Fed. Reg. 68052 (Nov. 30, 2021).

          This Motion is made on the grounds specified in this Motion, the Complaint, the

   accompanying Memorandum of Law, all matters of which this Court may take judicial notice, and on

   such other and further oral or documentary evidence as may be presented to the Court at or before

   the hearing on this Motion.




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   Dated: August 5, 2022                 By:/s/ Elizabeth B. Murrill

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